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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA, CASE NO.: CR 20-00069-CJC-1
Plaintiff, AMENDED ORDER
vs.
MELINDA ROMINES,
Defendant.

GOOD CAUSE HAVING BEEN SHOWN,

IT IS HEREBY ORDERED that defendant Melinda Romines is to avoid all
contact and/or communication with Thomas Ricardo Rodriguez, Thomas David
Rodriguez, Tomas Rodriguez, Annette Rodriguez, Roxana Morales and her
children.

IT IS FURTHER ORDERED that defendant shall not engage in political
criticisms of the defendant’s ex-boyfriend’s mother, Annette Rodriguez.

Defendant’s Bond shall be modified to permit her to visit her father in San
Diego County, Southern District of California, without the prior approval of
pretrial services.

IT IS SO ORDERED.
DATED: June 5, 2023 L—
U.S. DISTRICTSUDGE_- x

CC: USPO, PSA

